           Case 1:16-cv-00995-WSD Document 19 Filed 01/03/17 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

SHERMAN HARRIS,                        :
individually and on behalf of all      :
others similarly situated,             :
                                       :
      Plaintiff,                       :         Civil Action File No.
                                       :         1:16-CV-00995-WSD
vs.                                    :
                                       :
STATEWIDE WRECKER                      :
SERVICE SOUTH, INC. and                :
RONNIE C. FAUST,                       :
                                       :
      Defendants.                      :
                                           ORDER

      The above-styled case is before the Court on the parties’ Joint Motion for Review

and Approval of Settlement Agreement. The parties have requested that the Court

review and approve the parties’ proposed Settlement Agreement in this case because

Plaintiff’s Complaint includes claims under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq., The Court has reviewed the Settlement Agreement and finds that the

settlement is a fair and reasonable resolution of the parties’ dispute. Accordingly, the

Parties’ Joint Motion is GRANTED, and the Settlement Agreement is APPROVED

and incorporated herein.

      This Court shall retain jurisdiction over this matter to enforce the terms of the

Settlement Agreement.
                                             1
Case 1:16-cv-00995-WSD Document 19 Filed 01/03/17 Page 2 of 2




 SO ORDERED this 3rd day of January, 2017.




                                 _______________________________
                                 WILLIAM S. DUFFEY, JR.
                                 UNITED STATES DISTRICT JUDGE




                                2
